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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


  FINDERS KEEPERS USA LLC,

                  Plaintiff,

                  v.                                  Civil Action No. 22-0009 (APM)

  U.S. DEPARTMENT OF JUSTICE,

                  Defendant.


            DEFENDANT’S UNOPPOSED MOTION FOR EXTENSION OF TIME
                      TO FILE RESPONSE TO COMPLAINT

       Defendant, the United States Department of Justice, by and through undersigned counsel,

moves pursuant to Federal Rule of Civil Procedure 6(b)(1) for an extension of time until June 9,

2022, to file Defendant’s reply brief.

       As grounds for this motion, Defendant states as follows:

       1.       The parties are briefing the issue of the processing of videotape responsive to

Plaintiff’s FOIA request. On April 22, 2022, the Court entered a Minute Order, providing in part,

that

       Defendant's Motion is due on April 27, 2022; Plaintiff's Response is due by May 9,
       2022; and Defendant’s Reply is due by May 13, 2022.

       2.       In accordance with the Minute Order, Defendant filed its opening brief on April 27,

2022. ECF No. 17. Plaintiff filed its opposition on May 9, 2022. ECF No. 19.

       3.       The undersigned needs additional time to draft the reply and to confer with agency

counsel. Accordingly, Defendant respectfully requests an enlargement of three-business days—

until May 18, 2022—within which to file its reply brief.
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       4.       This relatively brief delay is not unreasonable under the circumstances and will not

unduly prejudice the Plaintiff.

       5.       In accordance with Local Civil Rule 7(m), undersigned counsel conferred via e-

mail with Plaintiff’s counsel, Anne Weismann, Esquire, about this extension. Ms. Weismann does

not oppose this request.

       6.       This is Defendant’s first request for an enlargement of time for this brieifing

schedule. A proposed order is attached.

Dated: May 12, 2022                           Respectfully submitted,

                                              MATTHEW M. GRAVES
                                              United States Attorney
                                              D.C. Bar No. 481052

                                              BRIAN P. HUDAK
                                              Chief, Civil Division

                                      By:      /s/ T Anthony Quinn
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                                              Counsel for Defendant




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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


  FINDERS KEEPERS USA LLC,

                   Plaintiff,

                    v.                                Civil Action No. 22-0009 (APM)

  U.S. DEPARTMENT OF JUSTICE,

                   Defendant.



                                     PROPOSED ORDER

        The matter is before the Court upon the Defendant’s unopposed motion for extension of

time to file its reply.

        Upon consideration of the Defendant’s motion, the entire record herein, and for good cause

shown, it is hereby

        ORDERED, that the motion is GRANTED. It is further

        ORDERED, that the Defendant shall file its reply on or before May 18, 2022.



        SO ORDERED this __________ day of _______________, 2022.



                                                     _______________________________
                                                     AMIT P. MEHTA
                                                     United States District Judge




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